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Case 2:18-bk-00988-PS         Doc 18 Filed 04/26/18 Entered 04/26/18 16:14:30                   Desc
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Case 2:18-bk-00988-PS           Doc 18 Filed 04/26/18 Entered 04/26/18               16:14:30       Desc Case
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                                 Main Document 3DJHRI
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                                               Page 3 of 3
